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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                          UNITED STATES DISTRICT COUR
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                UNITED STATES OF AMERICA                                           AMENDED JUDGMENT IN A CRIMINAL CASE
                                     v.                                            (For Offenses Committed On or After November 1, 1987)
                        EDUARDO LARA (3)
                                                                                       Case Number:        1SCRO Iss-ope

                                                                                   CRAIO M. SMITH, Federal Defenders, Inc.
                                                                                   Defendant's Attorney
REGISTRATION NO.                      48973298
 IZ1   Correction of Sentence for Clerial Mistake (Fed. R. Crim. P. 36) Missing Self Surrender date.

THE DEFENDANT:
 IZ1   pleaded guilty to count(s)            1 of the Infonnation.

 o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is aqjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                      Count
Title & Section                           Nature of Offense                                                                          Number(s)
8: 1324(a)(l )(A)(ii),(v)(II)             Transportation of illegal aliens for financial gain.                                          1




    The defendant is sentenced as provided in pages 2 through                                  4          of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                                  is            dismissed on the motion of the United States.

       Assessment: $100.00 waived.
 IZ1


 IZ1 Fine waived                    0 Forfeiture pursuant to order filed                                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                                    August 28. 2015



                                                                                    HON. OONZALO P. CURIEL
                                                                                    UNITED STATES DISTRICT JUDGE



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DEFENDANT:                EDUARDO LARA (3)                                                        Judgment - Page 2 of 4
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 6 months.




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o      The court makes the following recommendations to the Bureau of Prisons:




 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o     at                            A.M.              on
        o
                 -----------------
              as notified by the United States Marshal.
                                                                   ------------------------------------
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons or U.S. Marshal's,
        181   on or before October 9, 2015 12:00 P.M.
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 __________________________ ro ______________________________

 at
      ----------------------- , with a certified copy of this judgment.
                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       15CR0188·GPC
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    DEFENDANT:                   EDUARDO LARA (3)                                                                             Judgment - Page 3 of 4
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
        substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o       seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
        resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
      1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted pennission to do so by the probation officer;
      10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
          observed in plain view of the probation officer;
      11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
          the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confinn the defendant's compliance
           with such notification requirement.



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AO 24SB (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:             EDUARDO LARA (3)                                                       Judgment - Page 4 of 4
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                                SPECIAL CONDITIONS OF SUPERVISION

     1. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

     2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be determined by the probation officer, based on ability to pay.

     3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


     4. Be monitored for a period of 6 months, with the location monitoring technology at the discretion of the
        probation officer. The offender shall abide by all technology requirements and shall pay all or part of
        the costs of participation in the location monitoring program, as directed by the court andlor the
        probation officer. In addition to other court-imposed conditions of release, the offender's movement in
        the community shall be restricted as specified below:
        _X_ You are restricted to your residence at all times except for employment; education; religious
        services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court­
        ordered obligations; or other activities as pre-approved by the probation officer. (Home Detention)

II




                                                                                                   15CR0188-GPC
